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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

ERIC BLINMAN,

        Plaintiff
v.                                                              No. 1:23-cv-00431-KG-JMR

GOVERNOR MICHELLE LUJAN GRISHAM, et al.,

        Defendants.

  STATE DEFENDANTS’ RESPONSE TO PLAINITFF’S MOTION TO COMPEL
  DEFENDANTS’ ANSWERS TO INTERROGATORIES AND PRODUCTION OF
DOCUMENTS AND FOR SANCTIONS, INCLUDING AN AWARD FOR ATTORNEY’S
                        FEES AND COSTS

        COME NOW State of New Mexico, New Mexico Department of Cultural Affairs

(“DCA”), Office of Archaeological Studies (“OAS”), Governor Michelle Lujan Grisham, DCA

Cabinet Secretary Garcia y Griego, and DCA Deputy Secretary Michelle Gallagher Roberts,

(collectively “State Defendants”) by and through their counsel of record, SERPE ANDREWS,

PLLC (Cody R. Rogers and Hope Pendleton), and hereby submit this Response in Opposition to

Plaintiff’s Motion to Compel Defendants’ Answers to Interrogatories and Production of

Documents and for Sanctions Including an Award for Attorney’s Fees and Costs (“Motion”),

stating as follows:

                                       I.      INTRODUCTION

     In this action, Plaintiff asserts allegations of gender, race, and age discrimination, retaliation,

breach of contract, and violations of the whistleblower protection act in relation to his employment

and termination. See generally Third Amended Complaint. Plaintiff has named State of New

Mexico, New Mexico Department of Cultural Affairs (“DCA”), Office of Archaeological Studies

(“OAS”), Governor Michelle Lujan Grisham, DCA Cabinet Secretary Garcia y Griego, and DCA

Deputy Secretary Michelle Gallagher Roberts, and former DCA Human Resources Director Ken

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Lucero in this lawsuit. Id. State Defendants generally deny Plaintiff’s claims in his Third Amended

Complaint.

       In his untimely Motion, Plaintiff requests that State Defendants be compelled to go through

an onerous search through State Defendants’ email accounts to respond to his wildly overbroad

discovery request for “all documents, correspondence or communications, including emails, text

messages or audio/video recordings, whether personal or professional, between or among any

person(s), which directly references, references by implication, and/or is believed to relate to or is

related to the Plaintiff”, which also contains three additional subcategories of additional requested

items. See Doc. 81-1, RFP No. 2. RFP No. 2 contains no limitations as to time or subject matter

beyond references to Plaintiff. By way of example, in order to address the email component of

this request alone and limiting it only to the Department of Cultural affairs (which RFP No. 2 as

propounded does not do) State Defendants would be required to review over 115,000 emails that

include Plaintiff Eric Blinman’s name in the email. Ex. 1, Compton Aff. ¶ 3. More specifically,

Defendant Cabinet Secretary Garcia y Griego has over 13,000 emails that include Plaintiff’s name

and Defendant Michelle Gallagher Roberts has over 19,000 emails that include Plaintiff’s name.

Id. ¶¶ 4-5. The remainder are emails in the DCA system that include the term “Eric Blinman”. Id.

Manual review of these emails would then be required to determine if they are responsive and

ensure documents are responsive, not privileged, and do not contain private and confidential third-

party information. These efforts are related to only one category of responsive information

(emails), and do not touch upon the efforts that would be required to search for “all documents,

correspondence or communications, including…text messages or audio/video recordings.” Doc.

81-1, RFP No. 2.




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        Plainly, this request is too onerous and disproportionate to Plaintiff’s needs in this case.

Blinman was an employee of the State of New Mexico for nearly twenty years. This is a relatively

straightforward wrongful termination lawsuit involving a finite universe of individuals with any

involvement at all in the decision to terminate Plaintiff’s employment. Rather than limit his request

accordingly, Plaintiff is demanding that State Defendants search through every conceivable type

of material for an unlimited time period with no constraints on subject matter in order to respond

to his discovery request. State Defendants objected to plaintiff’s request on these and other

grounds and indicated that they would consider responding if Plaintiff would agree to narrow his

request. Ex. 2, pp. 3, 6, 8. State Defendants attempted to meet and confer with Plaintiff’s counsel

to determine how to limit the scope of the search for “documents” relevant to Plaintiff’s claims.

Id. Plaintiff initially agreed to limit the time period associated with his requests to ten (10) years

and then reduced that period to four (4) years. However, after some initial discussion of limiting

the scope of the request by utilizing key words to narrow the scope of the request, plaintiff reversed

course and insisted that State Defendants respond to his unlimited request. Plaintiff’s request is

unreasonable and not in good faith as required by the Federal Rules of Civil Procedure.

Accordingly, State Defendants respectfully request that the Court deny Plaintiff’s Motion as a

result. An examination of the circumstances surrounding this motion demonstrates that Plaintiff’s

Motion and the relief sought is unwarranted and unnecessary.

                                             ARGUMENT

   I.      Standard of Review
   The proper scope of discovery is "any nonprivileged matter that is relevant to any party's claim

or defense and proportional to the needs of the case[.]" Fed. R. Civ. P. 26(b)(1); See also

Employbridge, LLC v. Riven Rock Staffing, LLC, 2017 U.S. Dist. LEXIS 11605, *5 (D.N.M. Jan.

26, 2017) (unpublished); Simpson v. Univ. of Colo., 220 F.R.D. 354, 356 (D. Colo. 2004) (“a

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party’s right to obtain discovery of ‘any matter, not privileged, that is relevant to the claim or

defense of a party’...may be constrained where the court determines that the desired discovery is

unreasonable or unduly burdensome given the needs of the case, the importance of the issues at

stake in the litigation, and the importance of the proposed discovery in resolving the issues”).

“Relevance [of discovery requests] has never been the only consideration under Rule 26.” Pertile

v. GM, LLC, 2016 U.S. Dist. LEXIS 34674, *9 (D. Colo. Mar. 17, 2016) (unpublished) (citing

FED. R. CIV. P. 26(b)(1); In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1184 (10th Cir. 2009)).

Indeed, the “legal tenet that relevancy in the discovery context is broader than in the context of

admissibility should not be misapplied so as to allow fishing expeditions in discovery.” Martinez

v. Cornell Corr. of Tex., 229 F.R.D. 215, 218 (D.N.M. 2005) (citation omitted). Rather, discovery

“is meant to allow the parties to flesh out allegations for which they initially have at least a

modicum of objective support.” Id. (citation omitted).

   Federal Rule of Civil Procedure 37(a) allows a party seeking discovery to "move for an order

compelling ... discovery" after noticing other parties and all affected persons and making a good

faith effort to confer with the party or person from which discovery is sought. Fed. R. Civ. P.

37(a)(1). Grounds to compel include failing to answer an interrogatory posed under Rule 33 or

produce a document requested under Rule 34. Fed. R. Civ. P. 37(a)(3)(B)(iii), (iv). A response to

a request for production of documents is incomplete where it omits documents that the responding

party has practical ability to obtain. See Landry v. Swire Oilfield Servs., LLC, 323 F.R.D. 360, 382

(D.N.M. 2018); In re NTL, Inc. Sec. Litig., 244 F.R.D. 179, 195 (S.D.N.Y. 2007). Although the

scope of discovery in the federal rules is broad, "broad discovery is not without limits and the trial

court is given wide discretion in balancing the needs and rights of both plaintiff and defendant."

Gomez v. Martin Marietta Corp., 50 F.3d 1511, 1520 (10th Cir. 1995)(internal quotation marks



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omitted). A district court, however, is not "required to permit [a party] to engage in a 'fishing

expedition' in the hope of supporting his claim." McGee v. Hayes, 2002 WL 1608456, 43 F. App'x

214, 217 (10th Cir. July 22, 2002); see Tottenham v. Trans World Gaming Corp., No. 00 Civ.

7697(WK), 2002 U.S. Dist. LEXIS 11313, 2002 WL 1967023, at *2 (S.D.N.Y. June 21, 2002)

(unpublished) ("Discovery, however, is not intended to be a fishing expedition, but rather is meant

to allow the parties to flesh out allegations for which they initially have at least a modicum of

objective support." (internal quotation marks omitted)); Hardrick v. Legal Servs. Corp., 96 F.R.D.

617, 618 (D.D.C. 1983) (noting that courts do, and should, remain "concerned about fishing

expeditions, discovery abuse[,] and inordinate expense involved in overbroad and far-ranging

discovery requests" (internal quotation marks omitted)); Strobel v. Rusch, 2020 U.S. Dist. LEXIS

248004, *4-6 (D.N.M. 2020) (unpublished).

      II.      Plaintiff’s Motion to Compel is Untimely

      State Defendants served their discovery responses on December 11, 2024. On December 27,

2024, Plaintiff sent his “objections to Defendants’ responses to Plaintiff’s first discovery requests”,

which plaintiff apparently believed was a demand for supplementation. See Doc. 81-1, pp. 1. On

January 17, 2024, Defendants responded to Plaintiff’s “objections” and reiterated its own

objections to plaintiff’s discovery requests. See Doc. 81-3. Plaintiff filed his Motion to Compel

on February 25, 2025. See Doc. 81. Pursuant to D.N.M.LR-Civ. 26.6, plaintiff was required to

file a motion to compel within 21 days of receipt of State Defendants’ objections, or no later than

January 1, 2025.1 “Failure to proceed within this time period constitutes acceptance of the

objection.” Id. Plaintiff never requested or received an extension of time to proceed with a motion

to compel, either from State Defendants or the Court. Nor can Plaintiff demonstrate the requisite



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    This deadline would have been extended to January 2, 2025, due to the holiday.

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“good cause” to enlarge the deadline. While State Defendants were willing to work with Plaintiff

to try to narrow his discovery requests, that good faith participation in the discovery process does

not excuse plaintiff from complying with applicable rules or seeking an extension of time to do so.

Accordingly, plaintiff’s Motion to Compel should be denied.


   III.    The Motion to Compel Should be Denied due to the Failure of Plaintiffs’ Counsel
           to Engage in a Good Faith Attempt to Resolve his Purported Discovery Dispute
           without Court Intervention.

   Fed. R. Civ. P. 37 requires that a party with a discovery complaint should engage in a good

faith attempt to resolve the dispute before requesting the intervention of the court. See Fed. R.

Civ. P. 37(a)(1). Plaintiff has failed to comply with the requirements of this rule. It is well-

established that a party is required to seek a conference regarding discovery disputes prior to

seeking Court intervention. Id. (a motion to compel must include a certification that “counsel has

made a good faith effort to resolve the issue with opposing counsel prior to filing a motion to

compel discovery”); see also, e.g., Atlas Resources v. Liberty Mut. Ins. Co., 297 F.R.D. 482, 485

(D.N.M. 2011) (“Rule 37(a)(1) requires parties to confer in good faith prior to filing a motion to

compel”) (emphasis supplied). To confer means more than making a demand for compliance; it

means “to hold a conference; compare views; consult together.” Zuniga v. Bernalillo Cnty., 2013

WL 3328692, *1 (D.N.M. March 21, 2013) (unpublished) (quoting Hoelzel v. First Select Corp.,

214 F.R.D. 634, 635 (D. Colo. 2003)). Trial courts encourage and expect this sort of discovery

cooperation among counsel. William A. Gross Constr. Assocs., Inc. v. Am. Mfrs. Ins. Co., 256

F.R.D. 134, 136 (S.D.N.Y. 2009) (Peck, M.J.). ("Of course, the best solution in the entire area of

electronic discovery is cooperation among counsel.").

   In this case, State Defendants agreed to provide requested documents once Plaintiff limited the

request to a reasonable time and scope. Ex. 3, Relevant Portions of Def. Resp. to Pl. Rule 37 Letter.

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Plaintiff agreed to limit the time to a four year rather than 10-year period of time and agreed to

limit the scope to include “correspondence referring or relating to Plaintiff’s job performance,

disciplinary actions, follow-up and termination.” Doc. 81, p. 2. After limiting this request, State

Defendants found that due to the volume of emails in their possession that mention Plaintiff’s

name, this would be an onerous task. State Defendants requested that Plaintiff provide key words

for a search of those documents relevant to some claim or defense in this matter. Ex. 2, pp. 3, 6, 8.

These key words would be used to inform and direct the review of these records. Plaintiff refused

to even discuss providing key words to assist in this search. Ex.2, p. 1. Plaintiff refused and has

continued to refuse to provide key words or otherwise limit the subject matter of his request beyond

his name.

This Court specifically offered to assist parties with discovery disputes in this case. Doc. 23. As

Plaintiff disagreed with providing key words, State Defendants reached out to Plaintiff’s counsel to

request that a status conference be scheduled to discuss the parties’ impasse on this issue. Plaintiff

agreed. Defendants’ counsel reached out to the Court for the availability. The date and time were

determined for a status conference. The parties agreed on a summary of the issue to present to the

Judge. And then, the day of the status conference, Plaintiff unilaterally decided that this was “too

complicated to present it to the judge ‘off the cuff’ for a decision without more detailed motion

practice.” Ex. F to Motion, p. 84. Instead of attempting to resolve this issue informally, Plaintiff

decided that the present motion was necessary. As Plaintiff has simply attempted to make a demand

for compliance with his request, rather than make a good faith effort to compare views and consult

with State Defendants to come to a resolution prior to filing this Motion, Plaintiff’s motion to

compel should be denied.

    IV.     The Motion To Compel Should Be Denied As The Identified Requests For
            Production Are Unduly Burdensome As Written.

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    Even if the Court were to find that Plaintiff’s counsel satisfied his duty of good faith, he failed

to present any valid basis to order State Defendants to complete the onerous task of sorting through

virtually unlimited materials in order to identify a few that may be relevant to this matter. Rule

26(b)(2)(B), provides that “a party need not provide discovery of electronically stored information

from sources that the party identifies as not reasonably accessible because of undue burden or

cost.” Fed. R. Civ. P. Rule 26(b)(2)(B). Additionally, the Advisory Committee Notes under this

rule state that “a responding party should produce electronically stored information that is relevant,

not privileged, and reasonably accessible, subject to the (b)(2)(C) limitations that apply to all

discovery.” Bagley v. Yale Univ., 307 F.R.D. 59, 60 (D.Conn. 2015) citing Fed. R. Civ. P. 26(b)(2)

advisory committee’s note to 2006 amendment. If that showing is made, the court may order

discovery from such sources if the requesting party shows good cause. Bagley. 307 F.R.D. 59, 60.

However, the court must limit the extent of discovery otherwise allowed by the rules “if it

determines that: (1) the discovery sought is unreasonably cumulative or duplicative or can be

obtained from some other source that is more convenient, less burdensome, or less expensive. . .

or (3) the proposed discovery is outside the scope permitted by Rule 26(b)(1).” Fed. R. Civ. P.

26(b)(2)(C). Considering these limitations, the court may specify conditions for the discovery and

limit its frequency or extent if it determines that "the burden or expense of the proposed discovery

outweighs its likely benefit, considering the needs of the case, the amount in controversy, the

parties' resources, the importance of the issues at stake in the action, and the importance of the

discovery in resolving the issues." Bagley v. Yale Univ., 307 F.R.D. 59, 60 quoting Rule 26 (b)(1).

One limitation is to order the identification of specific search terms as this is a typical first step in

requesting discovery. Id., (“Typically, a party requesting discovery of electronically stored

information (hereinafter “ESI”) begins the process by identifying certain “custodians” who are



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thought to possess or control documents containing certain designated “search terms.”)

(emphasis added).

   In responding to Plaintiff’s discovery requests as written, and only as to the email portion of

the request and only as to DCA, the State Defendants would be required to review over 100,000

emails to determine what, if any, documents are responsive, non-privileged, and do not contain

confidential, private, and protected information of third parties. Ex. 1, Compton Aff. ¶¶ 3-5.

Plaintiff asserts that this is an easy process that should only “take minutes”. Doc. 81, p. 7. It is

unclear how exactly he purports that State Defendants can download and manually review over

100,000 emails with over 58GB of information equating to approximately 580,00 pages of emails

to determine if they are responsive, non-privileged, and do not disclose any confidential and

private information of third parties.

   More telling is plaintiff’s outright refusal to identify specific keywords or subject matters for

his request. Plaintiff tells on himself with this refusal- he is engaged in a pure fishing expedition

and nothing more. To suggest that every piece of material that contains plaintiff’s name or could

be construed to do so is fairly limited to the parameters of discovery permissible under the Rules

is nonsensical. “[B]road discovery is not without limits and the trial court is given wide discretion

in balancing the needs and rights of both plaintiff and defendant.” Gomez v. Martin Marietta Corp.,

50 F.3d 1511, 1520 (10th Cir. 1995) (internal quotation marks omitted). The addition of

proportionality to Rule 26(b) “crystalizes the concept of reasonable limits on discovery through

increased reliance on the common-sense concept of proportionality.” XTO Energy, supra, 2016

U.S. Dist. LEXIS 57050 at *58 (quoting Chief Justice John Roberts, 2015 Year-End Report on the

Federal   Judiciary,    at   6,   Supreme     Court    of   the   United    States,   available    at

http://www.supremecourt.gov/publicinfo/year-end/year-endreports.aspx)          (“2015     Year-End



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Report”)). The proportionality concept seeks to “eliminate unnecessary or wasteful discovery,”

and to impose a “careful and realistic assessment of actual need.” 2015 Year-End Report at 7. This

assessment may, as a practical matter, require “judges to be more aggressive in identifying and

discouraging discovery overuse by emphasizing the need to analyze proportionality before

ordering production of relevant information.” State Farm Mut. Auto. Ins. Co. v. Fayda, 2015 WL

7871037, *2 (S.D.N.Y. Dec. 3, 2015) (unpublished) (internal quotation marks omitted). Plaintiff’s

claims in this case are straightforward, and it is no burden for him to limit his email requests to

materials that are potentially relevant to those claims or otherwise likely to lead to the discovery

of admissible evidence.

       Plaintiff’s claims that these documents are “essential to [his] claims for wrongful

termination and violations of New Mexico law by Defendants and therefore are clearly relevant to

the fundamental tenants of this case” does not provide just cause for the undue burden of ciphering

through almost 600,000 pages of emails with no meaningful limitations as to subject matter. Doc.

81, p. 8. Limiting this request with keywords would balance this request to make it proportional to

Plaintiff’s needs. Further, his claim that he has offered “reasonable limitations” is clearly flawed

when these limitations have resulted in nearly 600,000 pages of correspondence for Defendants to

review. Id. Lastly, Plaintiff’s claim that his requests “do not demand an exhaustive review of all

agency records but are specific to correspondence regarding performance evaluations and

termination related communications” is nonsensical, because plaintiff has not so limited his

request(s). Id., p. 9. There is no way to determine if a document is “specific to correspondence,

performance evaluations and termination” without either being required to 1) review all agency

documents or 2) limiting the search to key terms. The only limitation Plaintiff has provided to date

is the name, “Eric Blinman” which again has resulted in approximately 580,000 documents to



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review just in terms of emails. Plaintiff’s request presents an undue burden on State Defendants

that is beyond the potential benefit to Plaintiff and his Motion to Compel State Defendants to

provide this information without identifying key words should be denied.2

    V.        State Defendants’ Objections And Requests For Limiting The Time And Scope
              Including Identification Of Key Words For Production Are Valid And Should Be
              Sustained.
         Plaintiffs’ Motion to Compel misleads the Court in asserting that the State Defendants

refused to respond to his discovery requests. As noted above, this is demonstrably false. State

Defendants repeatedly agreed to provide documents if they were limited in time and scope

including identification of key words. Additionally, State Defendants did in fact agree to

supplement with information that they were able to obtain, but after parties were unable to agree

on a key word search or other reasonable limitation on subject matter, State Defendants informed

Plaintiff that in order to avoid inconsistencies and to ensure they are responding completely and

appropriately, they would supplement all information once a final agreement was made. Ex.2, p.

3. This does not constitute a “refusal” to respond in any way.

         It is unclear exactly what Plaintiff is asking this court to compel. On the second page of his

Motion to Compel, he mentions a request for the following:

         a. Individual State Defendants’ education and qualifications information (INT No. 3)
         b. All correspondence referencing Plaintiff over a ten-year period, to include
         correspondence related to Plaintiff’s job performance, disciplinary actions
         and follow-up, and ultimate termination (RFPs to All Defs Nos. 2, 4, & 5 and
         RFPs to State of NM and NMDCA No. 2, 4(5)(6) and 5).
         c. Individual State Defendants’ job performance, disciplinary actions and follow-up
         (RPDs to State of NM and NMDCA No. 7)
         d. Individual State Defendants’ personnel files (RPDs to State of NM and NMDCA

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  Given Plaintiff’s repeated assertions that the searches and manual review should be “simple”, State Defendants are
willing to engage an outside e-discovery vendor to assist if Plaintiff is willing to absorb the associated costs, or front
costs associated with the review his request(s) contemplate. Where a request imposes an undue burden on a party,
cost shifting is appropriate. Zubulake v. UBS Warburg LLC, 217 F.R.D. 309, 322 (S.D.N.Y. 2003); See Sowell-
Albertson v. Thomas & Betts Corp., CIV 04-0760 RB/LFG [Doc. 83] (D.N.M. May 5, 2005); Radian Asset Assurance
Inc. v. College of the Christian Brothers et al., CIV 09-0885 JB/DJS [Doc. 183] (D.N.M. October 22, 2010); Spilca
v. Maryland Casualty Company, CIV 13-0360 GBW/LFG [Doc. 72] (D.N.M. November 26, 2013).

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       No. 8).

Doc. 81, p. 2.

However, later in his Motion to Compel, Plaintiff requests only that the Court enter:

       [a]n immediate order requiring State Defendants to conduct a thorough search and to
       produce all performance-related documents and termination-related records (including all
       related or associated correspondence, including emails and text messages from or among
       any of the individual State Defendants) within a specified time frame, well in advance of
       State Defendants’ deposition.

Doc. 81, p. 12. In an abundance of caution, State Defendants will outline their objections to the

most comprehensive list of requests included on page 2 of Plaintiff’s motion.

   a. Individual State Defendants’ Education and Qualifications Information
      (Interrogatory No. 3 To Defendant Michelle Gallagher Roberts and Defendant
      Debra Garcia Y Griego)
       State Defendants reassert their objections that the employment history of Michelle

Gallagher Roberts and Deputy Secretary Debra Garcia y Griego have no relevance to any claim or

defense at issue in this case, however, these records have been obtained by State Defendants

counsel and will be produced once all confidential information is redacted.

       B. All Correspondence Referencing Plaintiff Over a Ten-Year Period, To Include
       Correspondence Related to Plaintiff’s Job Performance, Disciplinary Actions
       And Follow-Up, And Ultimate Termination (RFPs To All Defs Nos. 2, 4, & 5 And
       RFPs to State of NM And NMDCA Nos. 2, 4(5)(6) and 5)

       State Defendants reassert their objections to these Requests on the grounds that they are

overly broad, unduly burdensome, excessive in duration, not limited in scope, and not reasonably

calculated to lead to discovery of admissible evidence. See Fed.R. Civ. P. 26(b)(1)(“Parties may

obtain discovery of any information, not privileged, which is relevant to any party’s claim or

defense and proportional to the needs of the case. . .”) ; Employbridge, 2017 U.S. Dist. LEXIS

11605 at *5-*6. State Defendants further object to this Request to the extent it attempts to obtain

information protected through the attorney-client privilege and to the extent it requests the mental


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impressions, conclusions, opinions, legal theories, or trial strategy of State Defendants’ counsel

through information that may be protected by the attorney-client privilege and/or the attorney work

product rule. See Fed.R. Civ. P. 26(b)(1)(“Parties may obtain discovery of any information, not

privileged, which is relevant to any party’s claim or defense proportional to the needs of the case.

. .”). State Defendants further object to producing confidential personnel information that

implicates the privacy concerns of its employees. See Knoll v. Am. Tel. & Tel. Co., 176 F.3d 359,

365 (6th Cir. 1999) (employer had valid interest in privacy of nonparty personnel files); Miller v.

Federal Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn. 1999) (“Personnel records, because of

the privacy interests involved, should not be ordered produced except upon a compelling showing

of relevance.”); Whittingham v. Amherst College, 164 F.R.D. 124, 127 (D. Mass. 1995)

(“[P]ersonnel files contain perhaps the most private information about an employee within the

possession of an employer.”); In re Del-Val Financial Corp. Securities Litigation, 158 F.R.D. 275,

277 (S.D.N.Y. 1994) (disallowing discovery request because disclosure of internal evaluations

invades the privacy of the employees); Celmins v. U.S. Dep’t of Treasury, 457 F.Supp. 13, 15

(D.D.C. 1977) (“the evaluation of an individual’s work performance, even if favorable, is personal

information and its release is an invasion of privacy”).

          As mentioned above, in order to provide responses, State Defendants would need to start

by manually reviewing over 100,000 emails which include 58.7 GB of information to determine

which information is responsive, non-privileged, and does not include confidential and private

third party information. As outlined in their discovery responses, State Defendants have agreed to

supplement this request if limited in time and scope. Exs. 2-3. Limiting the scope includes

identifying particular key words or subject matters that enable Defendants to conduct a meaningful

search.



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         In addition, despite the failure of Plaintiffs’ counsel to continue to engage in a good faith

effort to resolve this issue and failure to provide a reasonable amount of time to respond, State

Defendants are working on producing all emails from Plaintiff’s previous email account from 2019

to 2023. Notably, State Defendants’ counsel has purchased a program to download and convert

Plaintiff’s PST file to produce these emails and have been actively working to produce these

documents. However, as explained to Plaintiff’s counsel, Defendants cannot simply send Plaintiff

a copy of his entire PST file. Plaintiff is no longer a state employee and is not entitled to

confidential information. Again, production of these files will require manual review prior to

production.

         c. Individual State Defendants’ job performance, disciplinary actions and follow-up
         (RPDs to State of NM and NMDCA No. 7)

         State Defendants reassert the same objections they asserted to RFPs to All Defs Nos. 2, 4,

& 5 and RFPs to State of NM and NMDCA No. 2, 4(5)(6) and 5 included above. State Defendants

have obtained the personnel files for Defendants’ Deputy Secretary Michelle Gallagher Roberts

and Cabinet Secretary Debra Garcia y Griego and will produce all relevant documents once

confidential information is redacted from these files.

         d. Individual State Defendants’ personnel files (RPDs to State of NM and NMDCA)

         State Defendants reassert the same objections they asserted to RFPs to All Defs Nos. 2, 4,

& 5 and RFPs to State of NM and NMDCA No. 2, 4(5)(6) and 5 included above. However,

Defendants have obtained and will produce personnel file information excluding confidential and

private employee benefits, salary, family, and health information.

   VI.      Sanctions are Not Warranted

   Plaintiffs’ counsel would like this Court to sanction State Defendants as he alleges State

Defendants made misrepresentations within their discovery responses by asserting that their

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responses were “complete and correct as of the time it was made”. Doc. 81, p. 11. However, State

Defendants made no misrepresentations in their responses. State Defendants outlined all objections

that were being made and all documents that were not provided subject to limitation in time and

scope. Exs. 2-3. Additionally, Plaintiff requests sanctions for a “refusal to produce any

correspondence”. Doc. 81, p. 12. Again, this is untrue. State Defendants have repeatedly stated

that they would produce these documents once they were appropriately limited in time and scope.

Id. This limitation includes identification of key words which Plaintiff has refused to provide

simply requesting everything in the possession of the State of New Mexico which contains his

name or could be construed somehow to reference him. Ex. 4. Lastly, Plaintiff has requested

sanctions alleging that State Defendants’ conduct has been egregious. Doc. 81, p. 12. Plaintiff’s

mischaracterization of State Defendants’ objections to responding to his wildly overbroad

discovery requests as bad faith or egregious actions is a transparent attempt to distract from his

own behavior. Id. State Defendants have repeatedly attempted to confer with Plaintiff to work

through the discovery disputes. Plaintiff does not like the fact that State Defendants have not

simply complied with his requests as propounded, but this does not equate to acting in bad faith

and certainly does not support sanctions against State Defendants. Plaintiffs’ Motion should be

denied in its entirety because State Defendants acted in good faith by asserting their objections and

attempting to confer with Plaintiff throughout the discovery process. Therefore, Plaintiffs’ request

to sanction State Defendants is meritless and should be denied.

                                         CONCLUSION

       WHEREFORE, State Defendants Governor Michelle Lujan Grisham, New Mexico

Department of Cultural Affairs (“DCA”) Cabinet Secretary Garcia y Griego, DCA Deputy

Secretary Michelle Gallagher Roberts, State of New Mexico, Department of Cultural Affairs, and

Office of Archaeological Studies (“OAS”) respectfully request that the Court deny Plaintiffs’
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Motion to Compel, including his request for sanctions, and for such other and further relief as the

Court deems just and proper.



                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of March, 2025, a copy of the foregoing was delivered
electronically to all counsel of record via this Court’s CM/ECF filing and service system.

/s/ Cody R. Rogers
Cody R. Rogers
 SERPE | ANDREWS, PLLC




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